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UNITED STATES DI STRICT COURT
WESTERN DISTRICT OF TEXAS

MIDLAND-ODESSA DIVISION
United States of America

VS, NO: MO:21-CR-00150(1)-DC

SOO Sr Ot IO ton

(1) Julio Cesar Armendariz

WALEVER OF PRELIMINARY EXAMINATION
RULE 32.1, Fed R. Crim, P,

I, (1) Julio Cesar Armendariz . charged in a petition or motion pending in this

District with violation of probation or supervised release in violation of Title 18 U.S.C. § 3583

‘and having. appeared before this Court and been advised of my rights ag required by Rule 32, I,
Fed. R, Crim. P., including ny right to have a preliminary hearin g, do hereby waive (give up) my
right to a preliminary hearing. Additionally, I waive my tight to a bond/detention hearing (but
rescrve the right to a hearing if my case is postponed). 1 request that my case be set as soon as
possible.on the District Judge's calendar for a determination of the status of my revocation

proceeding,

\Deféndant

Date | 4 Leet

ee
Hor Defendan (if retained or
Appointed at the timd of waiver)

